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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DEI"AWARE

                                                                 )
In re:                                                           ) Chapter LL
                                                                 )
RMBR LIQUIDATION,INC., et ø1.,1                                  ) Case No. L9-L0234 (KBO)
                                                                 )
                                      Debtors.                   ) (Jointly Administered)
                                                                 )
                                                                 ) Ref. No.510
                                                                 )

     NOTICE OF (Ð ENTRY OF THE ORDER (I) APPROVING THE DISCLOSURE
       STATEMENT ON A FINAL BASIS AND (II) CONFIRMING THE JOINT
       CHAPTER 1.1 PI.AN OF RMBR LIQUIDATION, INC. AND ITS DEBTOR
      AFFILIATES; (B) THE EFFECTIVE DATE THEREOF; AND (C) CERTAIN
                               DEADLINES

TO CREDITORS, EQUITY INTEREST TIOLDERS, AND PARTIES IN INTEREST
PLEASE TAKE NOTICE TIIAT:

   L. Confirmation of the plan. on June !2,20L9, the Honorable Kevin Gross, united states
ru,'t.*p@itedStatesBankruptcyCourtfortheDistrictofDe1aware(the
,,Bankruptty Cõurt"), entered the Findings of Fact, Conclusions of Law, and Order (I)
Appr;¡rr7 th" Dl*losure Statement on a F;inal Bøsis ønd (II) Confirming the Joint Chapter 11
eún o¡ nunn Liquidation, Inc. and lts Debtor Affttiates [D.I. 510] (the "Confirmation order")
(i) approving on a tinat basis the Disclosure Statement for the Joint Chapter 1l Plan of RMBR
ifqifãotøn, Inc. and its Debtor Affiliates [D.I. 420] (as further modified, revised, supplemented
                   ..Disclosure Siatement'); and (ii) confirming the Joint Chapter 11 Pløn of
anä amended, the
RMBR Liquidation,lir. and its Debtor Affiliates lD.r. 42Ll (as further modified, supplemented,
revised ani amended including all attachmlnts and- exhibits thereto, the"Pla'n").z

     2.  Effective Date of the Plan. All conditions precedent to occurrence of the Effective Date
 of the plan have Ur.o *tirtir¿ - *aived. The Effective Date of the Plan occurred on Jane 25,
 20t9.

     3.   Copies of the plan and the Confïrmation Order. Copies of the Confirmation Order,
 Disclosure Stat"m*t, the Platr, and related documents, are available free of charge at
 https://cases.primeclerk.com/ThingsRemembered/, or for a fee at the Bankruptcy Court's website


                                                                                                     tax identification
 1
     The Debtors in these chapter L1 cases, along with the last four digits of each Debtor's federal
                                                                                            (5858); and RMBR
     number, include: RMBï Liquidation, tnc. çZøSA¡; RMBR Liquidation Holdco Corp.
                                                                                           is: 5500 Avion Park
     Liquidaiion Holdings Corporation (2354). The location of the Debtors' seryice address
     Drive, Highland Heights, Ohlo 44t43.
                                                                                                           ascribed
 z
     All capitalized terms used herein and not otherwise defined herein shall have the respective meanings
     to them in the Plan.


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at www.deb.uscourts.gov. The Confirmation Order, Disclosure Statement, Plan and related
documents also areãailable for inspection during regular business hours in the office of the
Clerk of the Bankruptcy Court, 824 Market Street, 3rd Floor, Wilmington, Delaware 1"980L.

      4.   Second Administrative Expense Bar Date. Pursuant to paragraph 2L of the
Confir-ation Ord"t, ttr" ¿"u¿fi* ior filing proofs of claim or requests for payment of
Administrative Claims arising on or after April 30,20L9 (the "second Administrative Expense
Requests',) is twenty one (zi) days from the date of service of this Notice of Effective
                                                                                         Date,
*tú"h i, Íulv ú. i019 at 4:00 p.m. (Eastern Time). All Second Administrative Expense
RequestsffieC1erk,LLC(the..C1aimsAgent',),inaccotdancewiththe
termsof the Bar Date Order îD.I. 4261. Second Administrative Expense Requests will be
                                                                                   L9. 20L9 at
deemed timely filed only if actùilv receíved by the Claims Agent on or before Julv
4:00 p.m. aEastern îime) (the                                                    ")'   Second
Administratirr" R"qffiuy iot be delivered by facsimile, telecopy, or electronic mail
transmission to the Clerk of the Court or the Debtors'

If you are required to file a Second Administrative Expense Request pursuant to
parägraph zt h the Confirmation order and fail to do so by the Second Administrative
Claims Bar Date, your untimely Second Administrative Expense Claim will not be
                                                                      purposes of distributions
considered Allowed, and you will not be treated as a creditor for
with respect to suciclairn, and you shall be entitled to no distribution under the Plan.

  5. professional Fee Claims Bar Date. Pursuant to paragraph 22 of the Confirmation
order,utheBankruptcyCourtofcompensationorreimbursement
of expenies in     accordaãce with Ba-nkruptcy Code sections 328, 330 or 331 or
                                                                         entitlsd to
priorities established pursuant to Bankruptcy code sections 503(bx2), 503(bx3)' 503(b)(a)^or
                                                                                   (30) days after
iO¡(UXS) shal (1) filó with the Clerk of tñe Èankruptcy Court no later than thirty
the Effective Date which is .Iulv 25. 201-9 at 4:00
                                                    p.m. (Eastern Time) (the "Professional Fee
ClaimsBarDate,,),anuppnffithoutlimitation,afina1feeapp1ication,forsuch
award of compensation ìì reimbursement; (Z¡ se*" a copy thereof, together
                                                                    and         with exhibits
schedules related thereto, upon (i) co-counsel to the Debtors, Kirkland        &  Ellis LLP, 601
                                                                                         Derek I'
Iæxington Avenue, New York, New York 10022, Attn; Christopher T. Greco and
                                                                  Illinois 60654,4ttn: Spencer   A.
Huntei, and Kirkland & Ellis LLp, 300 North LaSalle, Chicago,
IVinters; (ii) co-counsel to the Debtors, Landis Rath & cobb LLP,9L9 Market Street,
                                                                                             Suite
1g00, Wilmington, Delaware 19801, Attn: Adam G. Landis          and  Matthew B. McGuire;  (iii) the
Office of the United States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington,
Delaware Lgg0L, Attn: Timothy J. Fox; (iv) co-counsel to the official committee of unsecured
                                                                                              LLP,
creditors appointed in these chapter LL cases (the "committee"), (a) Kelley Drye & warren
 lgL park Avenue, New York, New York 10178, Attn: Eric R. Wilson and Jason R. Adams, and
 (b) Connolly Gallagher LLP, 267 East Main Street, Newark, Delawate L97l'J', Attn: N.
 òúristopher Griffithã; (v) the agent under the Debtors' prepetition asset-based facility and
prepetitìon term loan taòiíity, Cortland Capital Market Services LLC (the "Prepetition Agent"),
 ZZi W. Washingron St., 9ih Floor, Chicãgo, Illinois 60606, Attn: Maggie Welch and Iægal
 Department; (vifcounsel to the Prepetition Agent, (a) Weil Gotshal & Manges LLP,767
                                                                                              Fifth
 Avènue, New york, New         york  1iX.53, Attn: David N. Griffiths and    Lisa Lansio, and    (b)
 Richards, Layton & Finger, P.A., 920 N. King Street, Wilmington Delaware 19801' Attn:
  Zachary I. Shapiro; and (3) comply with the applicable requirements for such claim.



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  6. Reiection Bar Date. proofs of Claim with respect to Claims arising from the rejection of
E*"cot@piredIæases,ifany,mustbeFi1edwiththeBankruptcyCourtand
served on the plan Administiator no later than (i) any deadline established for creditors holding
General Unsecured Claims and (ii) twenty-one (21) days after the date of any order of the
Bankruptcy Court approving such rejection. Absent order of the Court to the contrary, any
Claimsìrising fromiñe rejeótion of an Executory Contract or Unexpired Iæase not Filed by the
applicable deãdtine will not be considered Allowed and such person or entity shall not be treated
as a creditor for purposes of distributions under the Plan'

    I . Bindine Nature of plan. The Plan and its provisions are binding on the Debtors and any
holder of u Ctairn ug.i"rt, * Irt"rest in, the Debtors, and such holder's respective successors and
assigns, whether oriot the Claim or Interest of such holder is impaired by the
                                                                                  Plan and whether
or not such holder voted to accept or reject the Plan.

Dated: Iune25,2019                   I.ANDIS RATH & COBB LLP
Wilmington, Delaware

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                                     Matthew B. McGuire (No. 4366)
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                                     -and-

                                       KIRKIAND & ELLIS LLP
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                                                   J
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                                  -and-

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                                  Co-Counsel for the Debtors and Debtors in Possession




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